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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 FEIT ELECTRIC COMPANY, INC. ,

       Plaintiff and Counterclaim-Defendant,   Case No. 13-cv-09339

                     v.                        Judge Sharon Johnson Coleman

 CFL TECHNOLOGIES, LLC,                        Magistrate Judge Heather K. McShain

       Defendant and Counterclaim-Plaintiff.


    NOTICE FOR PRESENTMENT OF PLAINTIFF’S UNOPPOSED MOTION FOR
      EXTENSION OF DEADLINES FOR SERVING FINAL LPR EXCHANGES

      PLEASE TAKE NOTICE that on March 14, 2022, at 9:15 a.m., counsel for Plaintiff Feit

Electric Company, Inc. shall appear before Honorable Judge Sharon Johnson Coleman in the

Everett McKinley Dirksen United States Courthouse, 219 South Dearborn Street, Chicago, IL

60604, and present its Unopposed Motion for Extension of Deadlines for Serving Final LPR

Exchanges, a copy of which has been filed and served on Defendant CFL Technologies, LLC on

March 8, 2022.

 Dated: March 8, 2022

                                                 Respectfully submitted,

                                                 /s/ Simeon G. Papacostas
                                                 Kal K. Shah
                                                 Simeon G. Papacostas
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                                  CERTIFICATE OF SERVICE
        I hereby certify that on March 8, 2022, I caused the foregoing Notice for Presentment of

Defendants’ Unopposed Motion for Extension of Deadlines for Serving Final LPR Exchanges

to be electronically filed with the Clerk of the Court using its CM/ECF system, which will send

notification of such filing to all registered participants.

                                                       /s/ Simeon G. Papacostas
                                                       Attorney for Defendant
                                                       Feit Electric Company, Inc.
